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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)

                                                      )
JEANNIE QUINTEROS,                                    )
                                                      )
               Plaintiff,                             )
                                                      )
               v.                                     )   C.A. No. 1:18cv01405 (LO/JFA)
                                                      )
BURLINGTON COAT FACTORY, et al.                       )
                                                      )
               Defendants.                            )
                                                      )

                                  NOTICE OF APPEARANCE

       THE CLERK OF COURT WILL PLEASE TAKE NOTICE that Carla D. Brown hereby

enters her appearance in the above reference case. I am admitted to practice in this Court, and I

appear in this case as local counsel for Plaintiff, Jeannie Quinteros.
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May 9, 2019                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 9th day of May, 2019, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)
to the following:

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